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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

        Plaintiffs,                                            Case No.: 19-cv-04407

v.                                                             Judge Charles P. Kocoras

THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge M. David Weisman
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs hereby file this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                 DEFENDANT

                 12                                   omaha0806

                 13                                   topbluelans

                 20                                  jazahusala_0

                 61                                 wallstreet0806

                 75                                 amazingstore66

                 91                                   corset_mart

                163                                    wildsyar

                236                                    kokorest
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DATED: September 13, 2019                          Respectfully submitted,

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt (Bar No. 6207971)
                                                   Keith Vogt, Ltd.
                                                   111 West Jackson Boulevard, Suite 1700
                                                   Chicago, Illinois 60604
                                                   Telephone: 312-675-6079
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 13, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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